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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Jacob K. Javits Federal Building
                                                       26 Federal Plaza, 37th Floor
                                                       New York, New York 10278

                                                       July 7, 2024

By ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

        Re:      United States v. Robert Menendez, et al.,
                 S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter in advance of closing
arguments to identify certain improper arguments or statements that the defendants previously
made or attempted to make, including in their opening statements, which should not be made
during the defendants’ closings, namely; (1) telling personal stories, (2) attributing quotations or
sayings to famous people, (3) referring to or making arguments about punishment or other
consequences of conviction to the defendants or others, (4) arguing that inferences are improper,
and (5) attacking the Government’s decision to bring charges, its investigation, and/or
investigative techniques. The jury’s decision should be based on the evidence in this case and
whether the Government has met its burden of proof. Accordingly, the Court should preclude the
foregoing types of arguments and statements.

   I.         Defense Counsel Should Be Precluded From Telling Personal Stories Or Vouching
              For Their Clients

       In the defendants’ opening statements, defense counsel made numerous statements to
which the Court sustained objections, including:

                 “[L]et me tell you a short personal story about my own life because
                 I think it’s relevant and might help you answer this question. You
                 see, I’m an identical twin.” (Menendez Opening, Trial Tr. 76.)

                 “[W]e as humans, are shaped by the experiences, the narratives, and
                 the events that have unfold in our parents’, our grandparents’ lives.
                 I’m the grandson of Holocaust survivors.” (Menendez Opening,
                 Trial Tr. 86.)
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        As the Court recognized, these statements were improper for multiple reasons. Not only
did they refer to alleged facts that defense counsel could not in good faith have expected to come
into evidence, but they also constituted a form of vouching. See United States v. Perez, 144 F.3d
204, 210 (2d Cir. 1998) (attorney “vouching” is improper because it suggests “the existence of
extraneous proof” (internal quotation marks omitted)). Nothing like this should be said in closings.

   II.      Defense Counsel Should Be Precluded From Attributing Quotations To Famous
            People

       Prior to opening statements, the Court precluded Menendez’s counsel from using
quotations attributed to various famous people, including Dr. Martin Luther King, Jr. (Trial Tr.
29-31.) That ruling was manifestly correct. Again, defense counsel could not in good faith have
expected those quotations to come into evidence, and there was and is no proper basis to suggest
that quotations from or beliefs of famous and honored figures somehow bear on the jury’s task.
Such quotations should again be precluded.

   III.     Defense Counsel Should Be Precluded From Arguing About The Consequences
            Of Conviction Or Whether Conviction Would Be “Unfair” Or Not Consistent
            With American Values

       Multiple times in their opening statements, defense counsel suggested that the jury should
consider punishment or other consequences of conviction, whether with respect to the defendants
themselves, or society more generally, including:
               “After you leave this courtroom, this case will be behind you. You
               won’t forget about it, but you also won’t be living with the weight
               of your judgment day in and day out.” (Menendez Opening, Trial
               Tr. 113.)

               “You have a man’s lifetime of public service in your hands. This
               case has and will affect him for the rest of his life.” (Menendez
               Opening, Trial Tr. 113.)

               “[Y]ou have a man’s lifetime of hard work in your hands.”
               (Menendez Opening, Trial Tr. 114.)

               The Government’s “position . . . is not only not supported, but it is
               unfair. Indeed, it is contrary to our American values where we
               celebrate people who pick themselves up by their bootstraps, as Will
               did, and achieve success, even when they’re coming from difficult
               circumstances, which is what he did.” (Hana Opening, Trial Tr.
               145.)

       These arguments—which appeared to invite the jury to consider matters beyond its
purview, including punishment, or more generally whether the prosecution is “unfair” and
“contrary to our American values” and thus acquittal is warranted—were improper. See, e.g.,
United States v. Saldarriaga, 204 F.3d 50, 52 (2d Cir. 2000) (“The Court properly charged the jury
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to base its decision on the evidence or lack of evidence that had been presented at trial, and to
focus solely on whether, in light of that evidence or lack of evidence, the jury was convinced
beyond a reasonable doubt that the defendant was guilty of the crimes with which he was
charged.”). The Court should preclude any similar arguments or statements from being made in
closings.

   IV.     Defense Counsel Should Be Precluded From Arguing That Inferences Are Not
           Evidence Or Otherwise Wrong to Draw

        Multiple times in Daibes’s opening statement, his counsel argued that inferences are not
evidence and should not be made, including: “And that brings me back to where I started. Which
is assumptions, presumptions, guesses, hunches, suppositions, inferences, suspicions are not
evidence.” (Daibes Opening, Trial Tr. 169.) So frequent and so problematic were these arguments
that the Court subsequently issued a curative instruction. (Trial Tr. 172.) Defense counsel should
not be permitted to repeat such legally incorrect and prejudicial statements in closings.

   V.      Defense Counsel Should Be Precluded From Attacking The Government’s
           Decision To Bring Charges, Its Investigation, Its Counsel, Or Investigative
           Techniques

       In their opening statements, counsel to Menendez and counsel to Daibes each argued that
the Government had done or would do something improper in bringing or prosecuting this case or
how it would argue this case, including:

               “I suspect they’ll have to bring a table out here because they’re
               going to want to display [evidence] to you in the most prejudicial
               way possible.” (Daibes Opening, Trial Tr. 161.)

        As the Court is aware, counsel for Menendez has also suggested, throughout this trial, that
the Government has hidden evidence or failed to use investigative techniques or analyses that
would purportedly show that Menendez is not guilty. Indeed, this type of suggestion has been
made so frequently that the Court has had to repeat its instruction to the jury, more than once, that
investigative techniques are not its concern. (See, e.g., Trial Tr. 5547.) None of Menendez’s
suggestions was proper, particularly because he could have chosen to do much or all of the very
analyses that he has baselessly suggested the Government nefariously did not do. Neither
Menendez nor any other defendant should be permitted to make such arguments in closings. See,
e.g., Saldarriaga, 204 F.3d at 52 (“The Court properly charged the jury to base its decision on the
evidence or lack of evidence that had been presented at trial, and to focus solely on whether, in
light of that evidence or lack of evidence, the jury was convinced beyond a reasonable doubt that
the defendant was guilty of the crimes with which he was charged.”); United States v. Knox, 687
F. App’x 51, 54-55 (2d Cir. 2017) (instructing jury that the “government is not on trial” is
“appropriate” (internal quotation marks omitted)); United States v. Stewart, No. 03 Cr. 717
(MGC), 2004 WL 113506, at *1 (S.D.N.Y. Jan. 26, 2004) (granting motion to preclude defendant
from “presenting arguments or evidence that would invite the jury to question the Government’s
motives in investigating and indicting [the defendant]”).
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                                         Respectfully submitted,

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